     Case: 1:10-cv-05850 Document #: 10 Filed: 11/22/10 Page 1 of 1 PageID #:18

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.1.1
                                Eastern Division

Jeff Janicki
                                           Plaintiff,
v.                                                          Case No.: 1:10−cv−05850
                                                            Honorable David H. Coar
Portfolio Recovery Associates, LLC
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 22, 2010:


       MINUTE entry before Honorable David H. Coar:Status hearing held on
11/22/2010. Counsel appeared and advised the Court of settlement. Status hearing
continued 12/16/2010 at 09:00 AM. so that settlement can be concluded. Mailed
notice(pm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
